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                        IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                                 )          Case No. 16-54770-WLH
                                                       )
COLLEEN PATRICIA BRANNON                               )
                                                       )          Chapter 7
             Debtor                                    )

                                         REPORT OF SALE

         NOW COMES Jason L. Pettie, Trustee in the above-captioned case, and files this Report

of Sale, reporting that on February 6, 2019, Benamin T. Polk tendered funds to Trustee and

Trustee sold that certain piece of real property located 3291 Zingara Road, Conyers, Georgia

pursuant to the terms of the Order entered by the Court on January 23, 2019 [Doc. No. 39], as

shown on the closing statement filed herewith as Exhibit A.


         Respectfully submitted this 7th day of February, 2019.


                                         /s/ Jason L. Pettie
                                         Jason L. Pettie, Trustee
                                         Georgia Bar # 574783
                                         P.O. Box 17936
                                         Atlanta, GA 30316
                                         (404) 638-5984
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                             Exhibit A
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                                CERTIFICATE OF SERVICE

       I, the undersigned attorney, do hereby certify that I have served a copy of the foregoing
pleading on those parties listed below by mailing a copy thereof, via first class U.S. Mail in a
properly addressed envelope with sufficient postage affixed.

       Office of the U.S. Trustee
       Room 362, Richard B. Russell Federal Bldg
       75 Ted Turner Dr, SW
       Atlanta, Georgia 30303



                                    /s/ Jason L. Pettie
                                    Jason L. Pettie
                                    Georgia Bar # 574783
                                    P.O. Box 17936
                                    Atlanta, GA 30316
                                    (404) 638-5984
